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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 9:17-cv-80468-DMM

  NICOLE R. GRASSI
  individually and on behalf of all
  others similarly situated,                                     CLASS ACTION

          Plaintiff,                                             JURY TRIAL DEMANDED

  v.

  PUBLIC STORAGE, a Maryland
  Real Estate Investment Trust,

        Defendant.
  __________________________________/

                                      NOTICE OF SETTLEMENT

          Plaintiff, Nicole R. Grassi, by and through undersigned counsel, hereby gives notice that the

  parties have reached a settlement with respect to Plaintiff’s individual claims. Plaintiff and Defendant

  are in the process of finalizing their settlement agreement. Plaintiff anticipates filing a notice of

  dismissal within ten (10) days.




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  Dated: June 14, 2017

                                           Respectfully submitted,


                                           HIRALDO P.A.

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                                   CERTIFICATE OF SERVICE

         I HEREBY CETIFY that on June 14, 2017, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this

  day on all counsel of record via transmission of Notice of Electronic Filing generated by CM/ECF.



                                                        /s/ Manuel S. Hiraldo
                                                        Manuel S. Hiraldo
                                                        Florida Bar No. 030380
                                                        Counsel for Plaintiff




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